                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

WILLIAM GRAY, PEGGY GRAY,                           )
GREGORY HOUSTON, and                                )
PATRICIA NICELY,                                    )
                                                    )
              Plaintiffs,                           )
                                                    )
v.                                                  )      No.:    3:04-CV-591
                                                    )              3:05-CV-175
FIRST CENTURY BANK,                                 )              (VARLAN/GUYTON)
                                                    )
              Defendant.                            )


                               MEMORANDUM OPINION

        This civil action is before the Court on Defendant First Century Bank’s (the “Bank”)

Motion to Dismiss or for Summary Judgment. [Doc. 275.] Plaintiffs William and Peggy

Gray (the “Grays”), Gregory Houston (“Houston”), and Patricia Nicely (“Nicely”)

(hereinafter collectively referred to as “the Plaintiffs”) have filed a response brief [Doc. 287]

and supplemental brief [Doc. 294] in opposition to the Bank’s motion. The Bank has filed

a supplemental reply brief. [Doc. 295.] The motion is now ripe for determination.

        The Court has carefully reviewed the pending motion and responsive pleadings in

light of the applicable law. For the reasons set forth herein, the Bank’s motion to dismiss or

for summary judgment will be granted.




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I.       RELEVANT FACTS

         Due to the complicated and extensive factual background in this case, the Court

incorporates its previous factual discussions to provide general background in this case.

[Docs. 42, 54, 169, 270.] For the specific claims at issue, there are a unique set of facts as to

each plaintiff, so the Court will discuss relevant facts in the analysis for each of the relevant

plaintiffs.

II.      ANALYSIS

         A.    Standard of Review

                1.     Rule 12(b)(6)

         A party may move to dismiss for failure to state a claim pursuant to Fed. R. Civ. P.

12(b)(6). In determining whether to grant a motion to dismiss, all well-pleaded allegations

must be taken as true and be construed most favorably toward the non-movant.

Trzebuckowski v. City of Cleveland, 319 F.3d 853, 855 (6th Cir. 2003). While a court may not

grant a Rule 12(b)(6) motion based on disbelief of a complaint’s factual allegations, Lawler

v. Marshall, 898 F.2d 1196, 1199 (6th Cir. 1990), the court “need not accept as true legal

conclusions or unwarranted factual inferences.” Morgan v. Church’s Fried Chicken, 829

F.2d 10, 12 (6th Cir. 1987). The Sixth Circuit has made it clear that despite the liberal system

of notice pleading, conclusory allegations are not enough to survive Rule 12(b)(6) dismissal.

See MacDermid v. Discover Fin. Servs, 488 F.3d 721, 733 (6th Cir. 2007). The issue is not

whether the plaintiff will prevail, but whether the claimant is entitled to offer evidence to

support his or her claim. Miller v. Currie, 50 F.3d 373, 377 (6th Cir. 1995). Consequently, a

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complaint will not be dismissed pursuant to Rule 12(b)(6) unless there is no law to support

the claims made, the facts alleged are insufficient to state a claim, or there is an

insurmountable bar on the face of the complaint.

              2.     Rule 56(c)

       Under Fed. R. Civ. P. 56(c), summary judgment is proper if “the pleadings, the

discovery and disclosure materials on file, and any affidavits show that there is no genuine

issue as to any material fact and that the movant is entitled to judgment as a matter of law.”

The moving party bears the burden of establishing that there is no genuine issue of material

fact. Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986). The court must view the facts

and all inferences to be drawn therefrom in the light most favorable to the non-moving party.

Matsushita Elec. Indus. Co., Ltd., v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Burchett

v. Kiefer, 310 F.3d 937, 942 (6th Cir. 2002). To establish a genuine issue as to the existence

of a particular element, the non-moving party must point to evidence in the record upon

which a reasonable jury could find in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). The genuine issue must also be material; that is, it must involve facts that

might affect the outcome of the suit under the governing law. Id.

       The judge's function at the point of summary judgment is limited to determining

whether sufficient evidence has been presented to make the issue of fact a proper jury

question. Id. at 249. The judge does not weigh the evidence, judge the credibility of

witnesses, nor determine the truth of the matter. Id. Thus, “[t]he inquiry performed is the

threshold inquiry of determining whether there is the need for trial - whether, in other words,

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there are any genuine factual issues that properly can be resolved only by a finder of fact

because they may reasonably be resolved in favor of either party.” Id. at 250.

          The Sixth Circuit has held that “under Fed. R. Civ. P. 12(b), before the district court

may treat a motion to dismiss as a summary judgment motion, it must give ‘all parties . . .

reasonable opportunity to present all material made pertinent to’ the issue.” Ball v. Union

Carbide Corp., 385 F.3d 713, 719 (6th Cir. 2004). In the present case, the Bank notified

Plaintiffs that the present motion was a “motion to dismiss or for summary judgment.” [Doc.

275.] Furthermore, Plaintiffs responded to the Bank’s summary judgment arguments and

presented materials outside of the pleadings to support those arguments. [Doc. 287.]

Accordingly, the Court may properly treat the Bank’s motion as one for summary judgment

if there is reliance on materials outside of the pleadings.

          B.     William and Peggy Gray

          In the [Corrected] Consolidated Amended Complaint [Doc. 193], the Grays allege that

the Bank violated the Federal Consumer Protection Act, 15 U.S.C. § 1601 et seq., and the

Truth in Lending regulations promulgated thereunder, 12 C.F.R. 226.1 et seq. The Grays

allege:

          On or about August 9, 2004, representatives of First Century Bank, including
          Joyce Love, presented to William and Peggy Gray a promissory note and loan
          agreement for a Loan No. 1021328, which Ms. Love represented would
          “straighten out” the problems with the mortgage loan on the Gray’s house, and
          would be exactly what their original loan agreement provided. The original
          loan agreement provided for equal monthly payments for a loan of $48,000.00,
          to be paid off in 2018. The loan agreement that Ms. Love presented to the
          Grays provided for monthly payments for five (5) years, then a single balloon
          payment in excess of $29,000.00 due on August 8, 2009. Ms. Love

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       misrepresented the purpose and effect of the loan agreement in presenting it
       to the Grays, and misled the Grays in order to induce them to sign a loan
       agreement that was materially different from what she represented and what
       they understood the loan terms to be.

[Doc. 193 at 29-30, ¶ 20(f)(5).] The Grays allege that the misrepresentations of Ms. Love

constituted violations of the Federal Consumer Credit Protection Act and Truth in Lending

Disclosure Regulations. Thus, they seek rescission of the allegedly misrepresented loan

agreement and seek to pay the loan obtained in equal monthly installments.

       The Bank contends that the Grays’ allegations fail to state a claim for violations of the

Federal Consumer Credit Protection Act and Truth in Lending regulations. First, the Bank

argues that the Grays’ loan is not subject to rescission. Second, the Bank contends that the

Grays may not introduce evidence of oral representations that contradict written Truth in

Lending disclosures. Third, the Bank contends that there is no basis in law for the Grays to

rewrite the loan agreement. [See Doc. 276 at 3-5.]

       The Grays respond that rescission is an available remedy and that statutory remedies

are available even if rescission is not. The Grays further respond that misrepresentations are

actionable under the Truth in Lending statute and regulations because the Grays have alleged

that they were fraudulently induced to sign the loan documents, which would permit them

to introduce evidence of contradictory oral representations. The Grays also newly claim that

the Bank failed to disclose its retained security interest in a notice of the right of rescission.

They request leave to amend the Complaint if specific allegations are needed. [See Doc. 287

at 1-10.]


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       The Bank replies that the loan at issue did not involve any new money, so it should

be considered a refinancing of the Grays’ mortgage loan. Thus, pursuant to 15 U.S.C. §

1635(e)(2), the right of rescission does not apply because the statute provides that the right

of rescission does not apply to refinancing of a mortgage loan. The Bank also replies that

money damages are inappropriate because the Amended Complaint fails to pray for an award

of money damages. As for the alleged oral misrepresentations, the Bank maintains that parol

evidence of allegedly fraudulent representations may not be introduced if those

representations contradict or vary the terms that are plainly expressed in writing. Regarding

the failure to disclose security interest claim, the Bank contends that no disclosure was

required because no notice is required for a refinancing loan. Additionally, the amended

complaint fails to mention the alleged non-disclosure, and there is no excuse for failing to

raise the issue at this time. [See Doc. 290 at 1-5.]

       Regarding the non-disclosure of security interest issue, the Grays’ supplemental brief

[Doc. 294] contends that the secured interests were based on forged deeds of trust. Though

the Bank contends that those deeds of trust were released on April 9, 2007, as of August

2004, the Bank knew that fraudulent deeds of trust had been recorded against the Grays’

property, knew that it had not released the deeds of trust, and failed to disclose the existence

of the deeds of trust and that the bank retained security interests represented by those deeds

of trust. Also, the Bank the release document incorrectly identifies the Grays as the

“Graves,” so it does not cure the Grays’ title problems. [See Doc. 294.]



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       The Bank’s reply to the supplemental brief states that any typographical error in the

release of the Bank has been resolved. The release was evidently properly indexed and a

check of Union County Register’s under “Gray” turns up the release. [See Doc. 295.]

       In this case, the parties dispute whether Loan No. 1021328 should be considered a

refinancing. This classification is important because it determines whether rescission is

available and whether additional security interest disclosures were required in this case. 15

U.S.C. § 1635(e)(2) expressly exempts “a transaction which constitutes a refinancing or

consolidation (with no new advances) of the principal balance then due and any accrued and

unpaid finance charges of an existing extension of credit by the same creditor secured by an

interest of the same property” from the right of rescission. 12 C.F.R. § 226.23(f)(2) also

expressly exempts a “refinancing or consolidation by the same creditor of an extension of

credit already secured by the consumer’s principal dwelling” from the disclosure requirement

of the right of rescission. The regulation also provides that “[t]he right of rescission shall

apply, however, to the extent the new amount financed exceeds the unpaid principal balance,

any earned unpaid finance charge on the existing debt, and amounts attributed solely to the

costs of the refinancing or consolidation.” Id.

       This regulation has been interpreted as allowing a borrower to “rescind the ‘new

money’ portion of certain ‘refinancings,’ but not the ‘old money’ portions.” Porter v. Mid-

Penn Consumer Discount Co., 961 F.2d 1066, 1074 (3d Cir. 1992). The reasoning is that

“Congress evidently felt that it would be unfair to lenders if, simply by the expedient of

seeking refinancing for the same amount, borrowers could gain the right to cancel the earlier

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loan.” Id. Thus, “[w]hen a ‘refinancing’ does not involve new money, no disclosure of the

(nonexistent) right to rescind is necessary, but where a ‘refinancing’ does involve new

money, lenders must still clearly notify borrowers of their (limited) rescission rights.” Id.

In the present case, the Grays allege that Loan No. 1021328 would “straighten out” a

previous loan, and there are no allegations that any “new money” was involved in the

transaction. Thus, the Bank is correct that Loan No. 1021328 should be considered a

refinancing. Accordingly, the right to rescission and associated rescission disclosure

requirements, including security interest disclosures, are inapplicable to the present case.

       Second, 12 § C.F.R. 226.5 provides for general disclosures that must be “clearly and

conspicuously in writing.” In their amended complaint, the Grays do not contend that the

Bank failed to make the required written disclosure for Loan No. 1021328. Rather, they

claim that the written disclosures in this case were “negated” by Ms. Love’s oral

representations. They rely on cases, such as Fisher v. Beneficial Fin. Co. of Hoxsie, 383 F.

Supp. 895, 899-901 (D.R.I. 1974), where a plaintiff was not precluded from presenting

evidence that a defendant actually required credit life and health insurance to be purchased

as a condition of a loan contrary to the statement signed by the plaintiff in the insurance

authorization form.

       In moving for dismissal of this claim, the Bank relies on Anthony v. Cmty. Loan and

Inv. Corp., 559 F.2d 1363, 1369-70 (5th Cir. 1977) as supporting its position that no

extraneous oral evidence is admissible to prove that the lender had said something to

contradict the Truth in Lending disclosure. In Anthony, the Fifth Circuit held that “absent

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a claim of illiteracy, fraud or duress, no extraneous oral evidence can be presented by the

plaintiff to prove that the defendant gave her the impression that insurance was required.”

Id. at 1369. The Fifth Circuit reasoned that “[c]onsumers should not be encouraged to avoid

reading or to ignore the information the Act requires to be provided.” Id. at 1370.

Furthermore, a court could apply the parol evidence rule to such situations and not frustrate

the purposes of the Truth in Lending statute and regulations. Id.

       Though the Grays claim that extraneous oral evidence can be presented in this case

due to alleged fraud by Ms. Love, the Bank has presented case law demonstrating that

allegedly fraudulent oral statements are not permitted when “the alleged fraudulent statement

expressly negated the obligation of a written instrument.” See Lyons v. Farmers Ins. Exch.,

26 S.W.3d 888, 892 (Tenn. Ct. App. 2000).

       In light of the Anthony holding, the parol evidence rule, and other relevant law, the

Grays cannot maintain their Truth in Lending claim. The present case is one involving

allegations of oral statements directly contradicting the written terms of an agreement, as

alleged by the Grays in their claims of “negated” written disclosures. Thus, any alleged oral

representations could not be offered as evidence to contradict the obligations of the written

contract in light of the parol evidence rule.

       Furthermore, the Court is not persuaded by the cases relied on by the Grays. For

instance, in Fisher, 383 F. Supp. at 900, the district court distinguished between the validity

of an authorization form and whether an insurance company actually required credit life and

health insurance be purchased as a condition of the loan. In that case, evidence of the

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lender’s conduct was permitted only on the issue of whether credit life and health insurance

was actually required, not on the issue of the validity of the authorization. In the present

case, the Grays are essentially attacking the validity of the written disclosures, a proposition

that a case like Fisher does not support. Accordingly, the Grays cannot prevail on any of

their Truth in Lending claims, and all of those claim will be dismissed. Furthermore, because

these claims are dismissed, it is unnecessary for the Court to address the parties’ arguments

regarding the appropriate remedies for such claims.

        C.    Gregory Houston

        In the [Corrected] Consolidated Amended Complaint, Houston alleges violations of

the Consumer Credit Protection Act and Truth in Lending regulations based on several loan

transactions with the Bank. [Doc. 193 at 104, ¶ 109]. First, he alleges that Connie Dyer, a

representative of the Bank, failed to explain charges related to his December 19, 2003, loan

and that he did not see any statement on the bank documents regarding interest rates or other

charges. He alleges that Connie Dyer filled in information on the loan documents after he

signed the documents. Second, he alleges that Connie Dyer did not explain additional

prepaid finance charges and additional credit life insurance charges on a December 29, 2003,

loan.   Houston alleges that he signed the loan document without seeing statements

concerning prepaid finance charges, additional credit life insurance charges, or the interest

rate on the document signed. Third, Houston alleges that a January 6, 2004, loan documents

failed to indicate that this loan would be combined with his other loans and that Connie Dyer

later filled in other charges after he signed the loan documents. Fourth, Houston alleges that

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Connie Dyer did not explain interest rates or finance charges connected with an April 8, 2004

loan. He further alleges that Connie Dyer filled in terms of the loan after the documents were

signed. Fifth, Houston alleges that Connie Dyer prepared loan documents for a May 13,

2004, loan and failed to explain or include information in the loan document of information

regarding interest rates, prepaid finance charges, or credit life insurance charges. [Doc. 193

at 67-70, ¶¶ 20(s)(3) - 20(s)(8).]

       In its motion, the Bank first contends that the allegations fail to state a claim for

violation of Truth in Lending laws because the only remedy Houston seeks is rescission.

Houston responds that 15 U.S.C. § 1640 provides for money damages in an amount equal to

the sum of the actual damages, twice the amount of any finance charge in connection with

the transaction, costs, and attorneys’ fees. Houston further contends that because his

complaint includes allegations of ascertainable losses due to finance charges, credit life

insurance premiums, and other financial losses, there are factual allegations supporting a

claim for money damages.        After reviewing the [Corrected] Consolidated Amended

Complaint, the Court finds that Houston has sufficiently alleged money damages. The

[Corrected] Consolidated Amended Complaint prays for “judgment be entered in favor of

Plaintiffs and against Defendants for the amount of damages to each Plaintiff caused by the

Defendants’ violation of their statutory and common law duties to Plaintiffs.” [Doc. 193 at

104, ¶ 4.] In light of liberal notice pleading requirements and Houston’s factual allegations,

the Court will not dismiss Houston’s claims for failure to allege a viable remedy.



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       In the alternative, the Bank contends that summary judgment should be granted as to

Houston’s claims because he has not presented sufficient evidence to support his allegations

of Truth in Lending violations. Houston responds that he is illiterate and disabled and that

his deposition testimony demonstrates that Connie Dyer did not discuss specific terms of the

loan agreement with him.

       In his deposition, Houston was asked about the loan transactions at issue, including

whether Connie Dyer made the required disclosures. Houston responded with statements of

“I don’t know,” I don’t remember,” “My memory isn’t too good,” and “I don’t recall. [Doc.

287-6 at 16-24.] The Bank has presented deposition testimony of Teresa Walker that

establishes the difficulty of printing, signing, and then adding information to loan documents.

[Doc. 276-2 at 57-58.] In her deposition, Connie Dyer denied having Houston sign

promissory notes in blank and later filling in the terms. [Doc. 276-3 at 4.] Houston contends

that his illiteracy and mental disabilities should preclude summary judgment, and the record

does support his contention of illiteracy. [Doc. 287-6 at 3 (“I can read ‘the’ and ‘this.’ I can

read three- and four-letter words. I can’t spell good neither.”).]

       Under Rule 56(c), summary judgment is proper if there is no genuine issue of material

fact. Fed. R. Civ. P. 56(c). To establish a genuine issue of material fact, Houston must point

to evidence in the record upon which a reasonable jury could find in his favor. Anderson,

477 U.S. at 248. In light of Houston’s lack of memory and the lack of any other evidence

that Connie Dyer failed to make the necessary disclosures, he has not met his burden under

Rule 56(c). Furthermore, though technical compliance with Truth in Lending Act regulations

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may not be sufficient in cases involving claims of illiteracy, USLIFE Credit Corp. v. FTC,

599 F.2d 1387, 1390 (5th Cir. 1979), this exception does not relieve Houston of the burden

to show that evidence in this case creates a genuine issue of material fact at the summary

judgment stage. Accordingly, summary judgment will be granted as to Houston’s claim.

        D.    Patricia Nicely

        In the [Corrected] Consolidated Amended Complaint, Nicely alleges that

Connie Dyer, a representative of the Bank, prepared promissory notes and loan agreements

in which Nicely’s signature was either forged by Connie Dyer or obtained by the

misrepresentation of Connie Dyer as to the terms to be filled in on the document in order to

induce Mrs. Nicely to sign the document in blank. [Doc. 193 at 116, ¶¶ 17(f)(2)-17(f)(7),

17(f)(9).] These events allegedly occurred in August of 2001, May of 2002, September of

2002, February of 2003, July of 2003, and December of 2001. [Id.] Based on these alleged

events, Nicely alleges that the Bank violated the Federal Consumer Credit Protection Act and

Truth in Lending regulations. [Doc. 193 at 104, ¶ 109.] More specifically, she alleges:

        First Century Bank, through its representative, Connie Dyer, violated the
        Federal Consumer Credit Protection Act and the Truth in Lending Regulations
        thereunder by having bank customers, including . . . Patricia Nicely, sign
        promissory notes and loan agreements in blank, without revealing the amount
        financed, the itemization of amount financed, the finance charge, the annual
        percentage rate, the payment schedule, the total of payments, or the other
        information required by the Truth in Lending Disclosure Regulations.

[Id.]

        In moving for dismissal of Nicely’s claims, the Bank first argues that the amended

complaint contains no allegations of Truth in Lending violations and fails to seek relief for

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Truth in Lending violations regarding Nicely’s loans. Nicely responds that the Paragraph

109 of the [Corrected] Consolidated Amended Complaint, quoted above, specifically alleges

Truth in Lending violations as to the loans to Nicely.

       Federal Rule of Civil Procedure 8(a) only requires “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). Thus under the

system of notice pleading, a complaint “need only ‘give the defendant fair notice of what the

. . . claim is and the grounds upon which it rests.’” Erickson v. Pardus, 127 S. Ct. 2197, 2200

(2007) (alteration in original) (quoting Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1964

(2007)). Paragraph 109 of the [Corrected] Consolidated Amended Complaint] sufficiently

alleges Truth in Lending violations in connection with Nicely’s loans, so Nicely’s claims will

not be dismissed on such a basis.

       The Bank’s second argument is that Nicely’s claims are barred by the one year statute

of limitations because all the alleged events occurred more than a year prior to the December

15, 2004, filing of the original complaint in this case. Nicely responds that the doctrine of

equitable tolling should apply because Dyer concealed the terms of the loans from them and

refused to go over the loans with them resulting in fraudulent concealment.

       15 U.S.C. § 1640(e) provides that Consumer Credit Protection Act and Truth in

Lending regulation violations “may be brought in any United States district court, or in any

other court of competent jurisdiction, within one year from the date of the occurrence of the

violation.” However, the statute of limitations period may be equitably tolled in cases

involving fraudulent concealment. Jones v. TransOhio Savings Ass’n, 747 F.2d 1037, 1043

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(6th Cir. 1984). In such cases, “the limitations period runs from the date on which the

borrower discovers or had a reasonable opportunity to discover the fraud involving the

complained of [Truth in Lending Act] violation.” Id. Notably, “equitable tolling based on

fraudulent concealment is to be narrowly applied since ‘[s]tatutes of limitation are vital to

the welfare of society and are favored in the law.’” Hill v. United States Dep’t of Labor, 65

F.3d 1331, 1336 (6th Cir. 1995) (alteration in original) (citations omitted).

       In the present case, Nicely’s claims are barred by the one year statute of limitations

period. Though equitable tolling is applicable to certain cases involving Truth in Lending

violation claims, the Sixth Circuit has recognized that a plaintiff would be aware of the lack

of disclosures on the date “certain bank notes were signed in blank.” Gray v. Home Bank of

Tennessee, No. 94-5817, 1995 WL 35660, at *1 (6th Cir. Jan. 30, 1995). In the [Corrected]

Consolidated Amended Complaint, Nicely alleges that the loan agreements at issue were

either forged by a representative of the Bank or, in the alternative, that Connie Dyer deceived

her into signing blank documents. [Doc. 193 at 116, ¶¶ 17(f)(2)-17(f)(7), 17(f)(9).] If the

documents were forged, the Truth in Lending disclosures would be inapplicable. If Nicely

signed blank documents, she would have discovered the lack of disclosures at the time she

signed the blank bank documents, more than a year prior to the filing of the original

complaint in this case. Thus, Nicely cannot prevail on these claims, and they will be

dismissed.




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II.   Conclusion

      For the reasons set forth herein, Defendant First Century Bank’s Motion to Dismiss

or for Summary Judgment [Doc. 275] will be GRANTED. The claims of Plaintiffs William

Gray, Peggy Gray, and Patricia Nicely under the Federal Consumer Credit Protection Act and

Truth in Lending regulations promulgated thereunder will be DISMISSED with prejudice

pursuant to Fed. R. Civ. P. 12(b)(6). Summary judgment will be granted as to the claims of

Gregory Houston under the Federal Consumer Protection Act and Truth in Lending

regulations promulgated thereunder, and Gregory Houston’s claims will be DISMISSED

with prejudice pursuant to Fed. R. Civ. P. 56(c). As a result, there will be no remaining

claims before the Court, and the case will be dismissed.

      ORDER ACCORDINGLY.



                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




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